       Case 1:17-md-02800-TWT Document 899-1 Filed 12/05/19 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


    IN RE: EQUIFAX INC.                    Case No. 1:17-md-2800-TWT
    CUSTOMER DATA SECURITY
    BREACH LITIGATION
                                           CONSUMER ACTIONS




            DECLARATION OF JENNIFER M. KEOUGH ENCLOSING
             OBJECTIONS AND OPT-OUT REQUESTS RECEIVED


I, JENNIFER M. KEOUGH, declare as follows:


       1.     I am the Chief Executive Officer (“CEO”) of JND Legal

Administration LLC (“JND”).      The Court appointed JND as the Settlement

Administrator 1 in its Order Directing Notice, dated July 22, 2019 (“Order”), to

perform the duties set forth in the Settlement Agreement and Release (“Settlement

Agreement”) in the above-captioned action (the “Action”). This Declaration is

based on my personal knowledge, as well as upon information provided to me by

experienced JND employees and counsel for the Plaintiffs and Defendants




1
 Capitalized terms used and not otherwise defined herein shall have the meanings
given such terms in the Settlement Agreement and Release.
                                                                       1:17-MD-2800-TWT
                                     -1-               JENNIFER M. KEOUGH DECLARATION
      Case 1:17-md-02800-TWT Document 899-1 Filed 12/05/19 Page 2 of 2




(“Counsel”) in the Action, and if called upon to do so, I could and would testify

competently thereto.

      2.     Attached hereto as Exhibit A is a true and correct copy of a chart

identifying each objection received in the Action (the “Chart”).

      3.     Attached hereto as Exhibit B-1 through B-36 are true and correct copies

of the objections submitted by the individuals identified in the Chart. The Chart is

inclusive of any documents received by JND and includes objections that are

potentially invalid as not meeting the requirements set forth in the Order.

      4.     Attached hereto as Exhibit C is a true and correct copy of a chart

identifying a list of Settlement Class Members who submitted timely and valid

exclusion requests to JND.



      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

      Executed on December 5th, 2019, in Seattle, Washington.




                                              JENNIFER M. KEOUGH




                                                                           1:17-MD-2800-TWT
                                       -2-                 JENNIFER M. KEOUGH DECLARATION
